 

Case 1:15-cv-01999-KLM Document 1 Filed 09/11/15 USDC Colorado Page 1 of 31

 

Approved for Release 8/11/2015]

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

 

 

| FILEU
Civil Action No. . UNITED STATES OIRO.
- (To be supplied by the court):
SEP 4 1 208
Haceld 3. Nichsbsen , Plaintiff, JEFFREY P, GOL
John ©. Brennan Direc tho, Centre LTateliigerce Agency (c/a)
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, Defendant(s).
(List each named defendant on a separate line.)

 

PRISONER COMPLAINT

 

(Rev. 1/30/07)

 

 
 

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Page |
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f.0. Box SOD, Florence, CO LIDAE-BSoOo

 

 

 
   

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(Naine, title, and address of first deféndant) <

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color of state law? No (CHECK ONE). Briefly explain your answer:

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4. ue Unknow C/A emoplo syees
(Name, title, and a of third defendant)

CIA, Wn DC aosos

At the time the claim(s) alleged in this complaint arose, was this defendant acting under
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Page A

 

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1.

B. JURISDICTION
1 assert jurisdiction over my civil rights claim(s) pursuant to: (check one if applicable)
28 U.S.C. § 1343 and 42 U.S.C. § 1983 (state prisoners)

Vv 28US.C. § 1331 and Bivens v. Six Unknown Named Agents of Fed. Bureau of
Narcotics, 403 U.S. 388 (1971) (federal prisoners) :

2. assert jurisdiction pursuant to the following additional or alternative statutes (if any):
Administrot: Phocedu < P SS u3.c. 7o SQ +,
F Use, § 7oa SF usc. § 706 a),

C. NATURE OF THE CASE

BRIEFLY state the background of your case. If more’space is needed to describe the nature of
the case, use extra paper to complete this section. The additional allegations regarding the nature
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of the case should be labeled “C. NATURE OF THE CASE”

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E. PREVIOUS LAWSUITS

Have you ever filed a lawsuit, other than this lawsuit, in any federal or state court while you
were incarcerated? __ Yes _XNo (CHECK ONE). If your answer is "Yes," complete this
section of the form. If you have filed more than one lawsuit in the past, use extra paper to
provide the necessary information for each additional lawsuit. The information about additional
lawsuits should be labeled "E. PREVIOUS LAWSUITS.”

‘1. Name(s) of defendant(s) in prior
lawsuit:

 

2. Docket number and court name:

 

3. Claims raised in prior lawsuit:

 

4. Disposition of prior lawsuit (for
example, is the prior lawsuit still
pending? Was it dismissed?):

 

5. Ifthe prior lawsuit was dismissed,
when was it dismissed and why?

 

6. Result(s) of any appeal in the prior
lawsuit:

 

F. ADMINISTRATIVE RELIEF

1. Is there a formal grievance procedure at the institution in which you are confined?
2X Yes __No (CHECK ONE).

2. Did you exhaust available administrative remedies? xX Yes __ No (CHECK ONE).

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G. REQUEST FOR RELIEF

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DECLARATION UNDER PENALTY OF PERJURY

I declare under penalty of perjury that I am the plaintiff in this action, that I have read this
complaint, and that the information in this complaint is true and correct. See 28 U.S.C. §

1746; 18 U.S.C, § 1621.

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“ (Prisoner's Original Signature)

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E. PREVIOUS LAWSUITS

Have you ever filed a lawsuit other than this lawsuit, in any federal or state court while ‘you
were incarcerated? __ es X No (CHECK ONE). If your answer is "Yes," complete this
section of the form. hye you wa have filed more than one lawsuit in the past, use extra paper 10

’ provide the necessary information for each additional lawsuit. The information about additional
lawsuits should be labeled "E, PREVIOUS LAWSUITS."

1, Name(s) of defendant(s) in prior
lawsuit:

 

‘2. Docket number and court name:

 

3. Claims raised in prior lawsuit:

 

4. Disposition of prior lawsuit (for
example, is the prior lawsuit still
’ pending? Was it dismissed?):

 

5. If the prior lawsuit was dismissed,
when was it dismissed and why?

 

6. Result(s) of any appeal in the prior
lawsuit:

 

1. Is there a formal grievance procedure at the institution in which you are confined?
X. Yes _. No (CHECK ONE).

2. Did you exhaust available administrative remedies? X Yes __ No (CHECK ONE).

(Rev. 1/30/07) , 7

 
